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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                     §
In re:                                               §       Chapter 11
                                                     §
EP ENERGY CORPORATION, et al.,                       §       Case No. 19-35654 (MI)
                                                     §
                                                     §       (Jointly Administered)
                 Debtors.1                           §
                                                     §

                  NOTICE OF AGENDA OF MATTERS SET FOR
            HEARING ON JANUARY 10, 2020 AT 9:00 A.M. (CENTRAL TIME)

                 The above-referenced debtors and debtors in possession (collectively,

the “Debtors”) hereby file their Agenda of Matters Set for Hearing on January 10, 2020 at

9:00 a.m. (CST) before the Honorable Marvin Isgur at the United States Bankruptcy Court for the

Southern District of Texas, Courtroom 404, 515 Rusk Avenue, Houston, Texas 77002.

I.       Contested Matter

         1. Motion for Relief from Automatic Stay (ECF No. 532)

                 Status:           This matter is going forward on a contested basis.

                 Responses Filed:

                 A.        Objection of Debtors to TransWood Carriers, Inc.’s Motion for Relief From
                           Automatic Stay (ECF No. 620)

                 B.        Claimant TransWood Carriers, Inc.’s Response to Objection of Debtors and
                           Reply in Support of Motion for Relief From Automatic Stay (ECF No. 634)

                 Related Document:

                 C.        Debtors’ Witness and Exhibit List for Hearing on January 10, 2020 (ECF
                           No. 645)


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 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: EP Energy Corporation (2728), EPE Acquisition, LLC (5855), EP Energy LLC (1021),
Everest Acquisition Finance Inc. (0996), EP Energy Global LLC (7534), EP Energy Management, L.L.C. (5013), EP
Energy Resale Company, L.L.C. (9561), and EP Energy E&P Company, L.P. (7092). The Debtors’ primary mailing
address is 1001 Louisiana Street, Houston, TX 77002.
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Dated: January 9, 2020
       Houston, Texas                  /s/ Alfredo R. Pérez
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                                      Certificate of Service

               I hereby certify that, on January 9, 2020, a true and correct copy of the foregoing
document was served by the Electronic Case Filing System for the United States Bankruptcy Court
for the Southern District of Texas, and will be served as set forth in the Affidavit of Service to be
filed by the Debtors’ claims, noticing, and solicitation agent.



                                                         /s/ Alfredo R. Pérez
                                                        Alfredo R. Pérez
